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         ORDERED in the Southern District of Florida on September 2, 2022.



                                                         Scott M. Grossman, Judge
_____________________________________________________________________________
                                           United States Bankruptcy Court



                                 UNITED STATES BANKRUPTCY COURT
                                   SOUTHERN DISTRICT OF FLORIDA
                                             www.flsb.uscourts.gov

         In re:                                                      Case No.: 22-10014 SMG
         LORENZO ALLEN                                               Chapter: 13



                       Debtor(s)         /


           ORDER GRANTING MOTION TO APPROVE FINAL MORTGAGE MODIFICATION
                       AGREEMENT WITH PHH MORTGAGE, DE# 79


                This matter came before the Court:

                       On the Debtor’s Ex Parte Motion to Approve Mortgage Modification
                       Agreement with PHH Mortgage (“Lender”).

                       For hearing on ________________, upon Self-Represented Debtor’s
                       Motion to Approve Mortgage Modification Agreement with Lender.




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      The Court, having considered the motion and being otherwise fully advised in the
premises, it is

       ORDERED as follows:

       1.     The Motion to Approve Mortgage Modification Agreement between the
              Debtor and PHH Mortgage (“Lender”) regarding real property located at
              6207 NW 66th Way, Parkland, FL 33067 is granted.

       2.     The parties are authorized to take any and all necessary actions to
              effectuate the terms of the Agreement.

       3.     [For chapter 13 cases] The Debtor shall amend/modify the last filed
              chapter 13 plan on or before October 1, 2022 to provide for the payment.

       4.     The Court reserves jurisdiction to enforce the terms of the Agreement and
              this Order.

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Chad T Van Horn, Esq. shall serve a conformed copy of this Order upon all parties of
interest and shall file a Certificate of Service in accordance with Local Rule 2002-1(F).




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